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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
        v.                                           Case No. 2:23-CV-02224

 The City of Memphis et al.,

                        Defendants.


PLAINTIFF’S RESPONSE TO THE CITY OF MEMPHIS’S MOTION FOR LEAVE TO
                     FILE SUPPLEMENTAL REPLY

       Plaintiff RowVaughn Wells, through her undersigned counsel, submits this response to

Defendant City of Memphis’s Motion for Leave to File Supplemental Reply In Support of Motion

to Vacate Plaintiff’s Improper Confidentiality Designations (“Motion for Leave”) (ECF 401).

       On April 28, 2025, the City filed its Motion for Leave, seeking permission to file a

supplemental reply in support of its January 22, 2025 motion to vacate certain confidentiality

designations made by the Plaintiff. The City’s first argument is based on the text of the Court’s

Protective Order (ECF 213), which was entered on September 26, 2024—four months before the

City’s original motion. See ECF 401 ¶¶ 6-10. The City could have raised this argument in its

original motion, or at least in its original reply brief. The argument is therefore not proper for a

supplemental reply. In any case, the argument rests on an incorrect reading of the Protective Order.

The City’s second argument rests on a recently decided Sixth Circuit decision, Grae v. Corrections

Corp. of Am., — F.4th —, No. 24-5839, 2025 WL 1132413 (6th Cir. Apr. 17, 2025), see ECF 401

¶¶ 11-13, which both parties should have an opportunity to be heard on.




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       When the City asked for Plaintiff’s position regarding its Motion for Leave, Plaintiff

informed the City that she would not oppose the City’s Motion, so long as the City agreed not to

oppose the Plaintiff seeking leave to file a surreply to the City’s supplemental reply. The City

refused and proceeded to file its Motion for Leave.

       Plaintiff should have the opportunity to respond to the new arguments in the City’s

supplemental reply. Plaintiff is thus filing, contemporaneously with this Response, a motion for

leave to file a surreply to the City’s proposed supplemental reply. The City’s proposed filing raises

arguments for the first time, which Plaintiff has not previously had an opportunity to address. As

requested in Plaintiff’s motion for leave, Plaintiff respectfully submits that because the City’s

proposed supplemental reply puts new arguments before the Court, the Court should allow the

City’s supplemental reply only if it allows Plaintiff the opportunity to file a surreply.



Dated: April 29, 2025                          Respectfully submitted,

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